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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

                             CASE NO: 3:22-cv-1035-MMH-LLL

JASON HEALEY, and all others similarly
situated under 29 U.S.C. 216(b),

        Plaintiffs,

        v.

MARK ALLEN,

        Defendant.
                                      /

             PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES
                AND CORPORATE DISCLOSURE STATEMENT

        Plaintiff, JASON HEALEY (“Plaintiff”), by and through undersigned counsel,

hereby files the following Certificate of Interested Parties:

   I.        The name of each person, attorney, association of persons, firm, law firm,

             partnership, and corporation that has or may have an interest in the outcome

             of this action, including subsidiaries, conglomerates, affiliates, parent

             corporations, publicly-traded companies that own 10% or more of a party’s

             stock, and all other identifiable legal entities related to a party:

             A. Plaintiff

             B. Counsel for Plaintiff, USA EMPLOYMENT LAWYERS - JORDAN

                RICHARDS PLLC

             C. Counsel for Plaintiff, JORDAN RICHARDS, ESQUIRE
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             D. Counsel for Plaintiff, JAKE BLUMSTEIN, ESQUIRE

             E. Defendant, MARK ALLEN

       II.        The name of every other entity whose publicly-traded stock, equity, or

debt may be substantially affected by the proceedings:

             A. None.

       III.       The name of every other entity which is likely to be an active participant

in the proceedings, including the debtor and members of the creditors’ committee (or

if no creditors’ committee the 20 largest unsecured creditors):

             A.    None.

       IV.        The name of each victim, including every person who may be entitled to

restitution.

             A.    Plaintiff JASON HEALEY

             B.    Opt-in Plaintiffs

                       CORPORATE DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1(a), I hereby certify that, except as disclosed, I

am unaware of an actual or potential conflict of interest affecting the district judge or

the magistrate judge in this action, and I will immediately notify the judge in writing

if I learn of a conflict.

       Date: September 23, 2022




                                                   Respectfully Submitted,


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                                              USA EMPLOYMENT LAWYERS-
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                                              Counsel for Plaintiff

                                              By: /s/ Jordan Richards
                                              JORDAN RICHARDS, ESQUIRE
                                              Florida Bar No. 108372
                                              JAKE BLUMSTEIN, ESQUIRE
                                              Florida Bar No. 1017746
                                              Jordan@jordanrichardspllc.com
                                              Jake@jordanrichardspllc.com


                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true copy of the foregoing was served by means

of the Court’s electronic filing system on September 23, 2022.

                                              By: /s/ Jordan Richards
                                              JORDAN RICHARDS, ESQUIRE
                                              Florida Bar No. 108372

                                  SERVICE LIST:

Defense Counsel Has Not Appeared to Date




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